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                        UNITED STATES BANKRUPTCY COURT
                         WESTERN DISTRICT OF WISCONSIN

______________________________________________________________________________

IN RE:

JIMMY M. CHAMPAGNE and                                Case No. 23-10727
ANGELICA CHAMPAGNE, a/k/a
MARIA ANGELICA GONZALEZ,

                        Debtors.
______________________________________________________________________________

     TRUSTEE’S MOTION TO APPROVE SETTLEMENT WITH DEBTORS
______________________________________________________________________________

      NOW COMES Christopher M. Seelen as Trustee and attorney for the
Trustee who states as follows:

         1.       This Chapter 7 case was filed on May 5, 2023, and Christopher M.
                  Seelen was appointed as Trustee of the Bankruptcy Estate.

         2.       The Trustee has been pursuing non-exempt equity in the Debtors’
                  homestead and vehicles/household goods.

         3.       Based on the Debtors’ scheduled values, it appears that there is
                  $20,250.81 of non-exempt equity in the Debtors’ Homestead
                  (located at 7575 County Hwy C, De Forest, WI 53532) and
                  Vehicles/Household Goods (identified in the bankruptcy
                  schedules) as follows:

                  $ 602,772.04 – Scheduled value of Homestead ($655,187) less
                                     8% costs of sale
                  ($ 150,000.00) (less exemption)
                  ($ 195,872.52) (less mortgage as of 4/15/2023)
                  ($ 162,763.41) (less WI Dept. of Revenue Tax Warrants as of
                                     7/15/2023)
                  ($ 79,523.30) (Less IRS Federal Tax Lien as of 8/10/2023)
                  $ 14,612.81 – Non-Exempt Equity in homestead




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                  $      3,000.00 - Scheduled value of 2007 Chevy Silverado
                  $    19,463.00 – Scheduled value of 2017 Toyota Highlander
                  $        300.00 - Scheduled value of 200 Mitsubishi Truck (does
                                      not run)
                  $     1,100.00 – Scheduled value of 2006 Ski-Doo MXZ 600
                  $     1,800.00 – Scheduled value of 2008 Octane Trailer
                  $     5,000.00 – Scheduled value of 2017 Polaris 570 ATV
                  $     6,875.00 – Scheduled value of Household Goods
                   ($ 32,000.00) (less exemption)
                  $ 5,538.00 – Non-Exempt Equity in Vehicles/Household Goods

                  $ 14,612.81 Non-Exempt Equity in Homestead
                  $  5,638.00 Non-Exempt Equity in Vehicles/Household Goods
                  $ 20,250.81 Non-Exempt Equity Using Debtors’ Values

         4.       Based thereon, the Trustee filed an Objection to the Debtors’ claim
                  of exemptions to preserve the Bankruptcy Estate’s interest in the
                  Non-Exempt Equity in the Homestead and Vehicles/Household
                  Goods.

         5.       The Trustee and the Debtors have now reached a settlement in this
                  matter.

         6.       In full and complete redemption of the Bankruptcy Estate’s
                  interest in the Homestead and Vehicles/Household Goods, the
                  Debtors shall pay to the Bankruptcy Estate the sum of $10,639.02
                  within 30 days after Bankruptcy Court approval of this settlement.

         7.       Upon the Trustee’s receipt of the settlement check, and upon the
                  settlement check clearing the account upon which it is drawn, and
                  contingent on Bankruptcy Court approval of this settlement which
                  the Trustee seeks in this Motion, the Trustee shall be deemed to
                  have withdrawn the Trustee’s Objection to Exemptions and the
                  Trustee shall also be deemed to have abandoned the Bankruptcy
                  Estate’s interest in the Homestead and Vehicles/Household Goods.

         8.       The Trustee believes this settlement is fair, reasonable,
                  appropriate, and in the best interests of the cost-effective and
                  efficient administration of this Bankruptcy Estate given the costs
                  and risks of liquidating the assets and, given the fact that the
                  balances due on the mortgage, the WI Dept of Revenue tax
                  warrants, and IRS tax warrants could increase prior to any sale.




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         9.       Accordingly, the Trustee requests that the Court approve the
                  $10,639.02 settlement with the Debtors.

         WHEREFORE, the Trustee requests an Order as follows:

                  A.    Granting this Motion;

                  B.    Approving the settlement identified herein as being fair,
                        reasonable, appropriate, and in the best interests of the cost-
                        effective and efficient administration of this Bankruptcy
                        Estate; and

                  C.    For such other and further relief as the Court in its
                        discretion deems just and equitable under the circumstances


         Dated at Eau Claire, Wisconsin, this 8th day of August, 2023.


                                                 RUDER WARE

                                                 /s/ Christopher M. Seelen
                                                 __________________________________
                                                 Christopher M. Seelen
                                                 Trustee and Attorney for the Trustee
                                                 State Bar #1029724
P.O. ADDRESS:

RUDER WARE
402 Graham Avenue
P.O. Box 187
Eau Claire, WI 54702-0187
Telephone: 715.834.3425
Fax:        715.834.9240




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JIMMY M. CHAMPAGNE and                               Case No. 23-10727
ANGELICA CHAMPAGNE, a/k/a
MARIA ANGELICA GONZALEZ,

                        Debtors.
______________________________________________________________________________

              NOTICE OF MOTION TO APPROVE SETTLEMENT
______________________________________________________________________________

To:      U.S. Bankruptcy Court and all parties on Debtors’ mailing matrix
         attached.

      PLEASE TAKE NOTICE, that Christopher M. Seelen, Trustee and
Attorney for the Trustee, has filed papers with the Court to authorize a
settlement in this case, a copy of which is enclosed.

      Your rights may be affected. You should read these papers carefully and
discuss them with your attorney, if you have one in this bankruptcy case. If
you do not have an attorney, you may wish to consult one.

      Reason for any objection to the settlement must be filed in writing with
the Court and served within twenty-one (21) days of the date of mailing of this
notice. See Bankruptcy Rule 2002. If you do not want the Court to approve the
settlement, or if you want the Court to consider your views on the motion, then
on or before August 29, 2023, you or your attorney must file with the Court a
written request for a hearing at:

                       United States Bankruptcy Court
                       120 N. Henry St., Room #340
                       Madison, WI 53703-2559

     If you mail your request to the Court for filing, you must mail it early
enough so the Court will receive it on or before the date stated above.




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         You must also mail a copy to:

         U.S. Trustee's Office                   Attorney Christopher Seelen
         Suite 304                               P. O. Box 187
         780 Regent Street                       Eau Claire, WI 54702
         Madison, WI 53715

      If you or your attorney do not take these steps, the Court may decide
that you do not oppose the relief sought in the motion and may enter an order
granting that relief.


         Dated at Eau Claire, Wisconsin, this 8th day of August, 2023.


                                                 RUDER WARE

                                                 /s/ Christopher M. Seelen
                                                 __________________________________
                                                 Christopher M. Seelen
                                                 Trustee and Attorney for the Trustee
                                                 State Bar #1029724

P.O. ADDRESS:

RUDER WARE
402 Graham Avenue
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Eau Claire, WI 54702-0187

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